  Case 2:24-cv-00228-WBV-DPC         Document 88-25      Filed 03/03/25    Page 1 of 1




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

 KATHLEEN MOLLER,                       *
                                        *
              Plaintiff,
                                        *
 v.                                     *   CIVIL ACTION NO. 2:24-cv-228-WBV-DPC
                                        *
 MARTIAN SALES, INC.; JOPEN,            *   THE HONORABLE WENDY B. VITTER
 LLC; JOHNSON FOODS, LLC; LP            *
 IND., LLC; CAG HOLDINGS, LLC;          *   MAGISTRATE DONNA PHILLIPS
 RMH HOLDINGS, INC.; ABC                *   CURRAULT
 INSURANCE COMPANY and John             *
 Does 1-4,                              *
              Defendants.               *


                                        ORDER

      The Court, having considered Plaintiff’s Motion to Compel Discovery (“Plaintiff’s

Motion”) (Dkt. 82), Plaintiff’s Memorandum in Support (Dkt. 82-1), and Defendants Martian

Sales, Inc., JOpen, LLC, LP Ind., LLC, CAG Holdings, LLC, and RMH Holdings, LLC’s

Memorandum Opposing Plaintiff’s Motion to Compel Discovery, hereby DENIES Plaintiff’s

Motion.



      SO ORDERED this _____ day of ______________, 2025.




                                         MAGISTRATE DONNA PHILLIPS CURRAULT
